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13                               UNITED STATES DISTRICT COURT
14                            SOUTHERN DISTRICT OF CALIFORNIA
15 MS. L, et al.,                             Case No. 18cv428 DMS MDD
16                  Petitioners-Plaintiffs,
                                              DEFENDANTS’ REPLY IN SUPPORT
17        vs.                                 OF THEIR MOTION TO EXCLUDE
                                              PLAINTIFFS’ DECLARATIONS
18 U.S. IMMIGRATION AND CUSTOMS
   ENFORCEMENT, et al.,
19
               Respondents-Defendants.
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 1    I.   INTRODUCTION
 2         Plaintiffs have provided no basis for this Court to find that their declarations should
 3 not be excluded. In their Opposition to Defendants’ Motion to Exclude Plaintiffs’
 4 Declarations, ECF 466 (“Opposition”), Plaintiffs have admitted that their declarations do
 5 not satisfy the Federal Rules of Evidence. Rather Plaintiffs assert, without any legal
 6 justification, that there declarations are acceptable because: (1) the Federal Rules of
 7 Evidence are not strictly applied to their Motion to Enforce, and (2) their declarations meet
 8 some of the evidentiary requirements and have sufficiently established reliable principles
 9 and methods on which their experts rely. However, Plaintiffs’ arguments have not cured
10 the deficiencies in their declarations to render them admissible under the Federal Rules.
11 Contrary to Plaintiffs’ position, the relaxed preliminary injunction evidentiary standard is
12 inapplicable to Plaintiffs’ Motion to Enforce.
13         The Federal Rules of Evidence exist to ensure that proceedings are administered
14 fairly, the truth ascertained, and just determinations rendered—Plaintiffs provide this Court
15 no basis to conclude that these Rules should be disregarded in its evaluation of their
16 Motion. Plaintiffs do not provide any basis why the Court should excuse their failure to
17 obtain admissible, reliable evidence of the allegations on which their Motion to Enforce is
18 based. A party seeking admission of a piece of evidence bears the burden of demonstrating
19 its admissibility, which Plaintiffs have failed to do. Under these circumstances, the Court
20 should not permit Plaintiffs to rely on inadmissible evidence.
21   II.   ARGUMENT
22      A. Plaintiffs Have Not Met Their Burden to Establish that Plaintiffs’ Exhibits B–
           E and G–L Are Admissible
23
           1. Plaintiffs’ Motion to Enforce is Not An Application for Preliminary Injunction
24
           Notably, in seeking to oppose Defendants’ Motion to Exclude, Plaintiffs, for the
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     most part, do not assert that the declarations submitted in support of their Motion to Enforce
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     contain otherwise admissible evidence. Rather, Plaintiffs argue that this Court should not
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 1 strictly apply the Federal Rules of Evidence to their Motion, but instead should apply more
 2 relaxed evidentiary standards that courts sometimes apply in the preliminary injunction
 3 context where tight timeframes and imminent harm concerns require such relaxed
 4 standards. Plaintiffs’ reliance on preliminary injunction evidentiary standards is misplaced.
 5 Plaintiffs are not seeking a preliminary injunction, because a preliminary injunction was
 6 granted one year ago, on June 26, 2018. See ECF 83. Instead, they are seeking to amend
 7 the certified class and alter the preliminary injunction following a year of ongoing
 8 discussions between the parties and the Court regarding compliance with the preliminary
 9 injunction, and months of discussion between the parties about the very issues addressed
10 in Plaintiffs’ Motion.
11         The circumstances that allow for relaxed evidentiary standards when seeking a
12 preliminary injunction are not present here. Plaintiffs accurately note that district courts
13 have discretion to consider otherwise inadmissible evidence in ruling on the merits of an
14 application for temporary restraining order or preliminary injunction. Republic of the
15 Philippines v. Marcos, 862 F.2d 1355, 1363 (9th Cir. 1988) (“It was within the discretion
16 of the district court to accept this hearsay for purposes of deciding whether to issue the
17 preliminary injunction”). As the Ninth Circuit explained, “[t]he urgency of obtaining a
18 preliminary injunction necessitates a prompt determination and makes it difficult to obtain
19 affidavits from persons who would be competent to testify at trial. The trial court may give
20 even inadmissible evidence some weight, when to do so serves the purpose of preventing
21 irreparable harm before trial.” Flynt Distrib. Co., Inc. v. Harvey, 734 F.2d 1389, 1394 (9th
22 Cir. 1984). However, here, Plaintiffs cannot establish that there is a need to relax the
23 Federal Rules of Evidence based on the same urgency to prevent irreparable harm, because
24 the preliminary injunction has been in place for over a year, and the issues raised in
25 Plaintiffs’ Motion have been discussed by the parties and even litigated previously before
26 this Court for months prior to the filing of Plaintiffs’ motion.
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 1         The procedural history of this case contradicts Plaintiffs’ claims that the expedited
 2 nature of these proceedings permits them to rely on hearsay and other inadmissible
 3 evidence in support of their Motion to Enforce. Plaintiffs filed their Motion to Enforce on
 4 July 30, 2019 – over one-year after the Court granted Plaintiffs’ application for preliminary
 5 injunction. In their Motion, Plaintiffs once again ask this Court to look behind the
 6 government’s exercises of discretion in making separation decisions following the
 7 preliminary injunction. ECF 439. These issues – first raised by Plaintiffs in September
 8 2018 (ECF 221)—have been previously briefed and decided by this Court. ECF 236. Thus,
 9 the issues regarding separations following the preliminary injunction are not new and do
10 not present the utmost urgency. The circumstances of Plaintiffs’ Motion are distinct from
11 the scenario where the urgency of seeking a preliminary injunction makes it difficult to
12 “obtain affidavits from persons who would be competent to testify at trial.” Flynt, 734 F.2d
13 at 1394. Here, Plaintiffs come to the Court asserting that certain factual situations exist that
14 require the Court to revisit its orders certifying a class and issuing a preliminary injunction
15 that were issued over one year ago. And in seeking to establish these factual situations
16 exists, Plaintiffs rely almost entirely on inadmissible evidence. Plaintiffs should not be
17 permitted to ask this Court to alter its longstanding orders without being required to bring
18 to the Court admissible evidence on which the Court can reasonably rely. Plaintiffs’ request
19 for such extraordinary relief should be supported by evidence that complies with the
20 Federal Rules of Evidence.
21         The relaxed preliminary injunction evidentiary standards are a rare exception to the
22 Federal Rules of Evidence and not the standard for evidence submitted with motions prior
23 to filing a motion for summary judgement. By definition, the Federal Rules of Evidence
24 “apply to proceedings in United States Courts” (Fed. R. Evid. 101(a)), “including civil
25 cases and proceedings” (Fed. R. Evid. 1101(b)). Section 1101(d) of the Federal Rules of
26 Evidence lists the scenarios in which the federal rules do not apply—evidence submitted
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 1 in support of a motion to enforce is not one of them. 1 Therefore, despite Plaintiffs’ contrary
 2 claims, an affidavit or sworn statement must set forth facts that conform to the Federal
 3 Rules of Evidence. Here, Plaintiffs submitted 17 declarations in support of their motion. In
 4 15 of the 17 declarations, the declarants lacked personal knowledge of the facts alleged in
 5 the declaration, relied on multiple levels of inadmissible hearsay, and/or failed to satisfy
 6 the expert-testimony-foundation requirements of Rule 702 of the Federal Rules of
 7 Evidence. The Court, therefore, should carefully consider the reliability of the evidence
 8 submitted, as Plaintiffs’ entire Motion is based on individual statements that were made by
 9 declarants who are not before the Court and are not class members, and provide no
10 foundation upon which the individuals are making a significant portion of their statements.
11           Furthermore, even in the preliminary injunction context, the standard is not that a
12 district court must consider hearsay or otherwise inadmissible evidence in deciding to issue
13 the preliminary injunction, but rather, a district court may, in its discretion, accept hearsay
14 and otherwise inadmissible evidence when considering whether to issue a preliminary
15 injunction. See, e.g., Marcos, 862 F.2d at 1363 (“It was within the discretion of the district
16 court to accept this hearsay for purposes of deciding whether to issue the preliminary
17 injunction”). Ultimately, the issue is what weight the Court should afford to the otherwise
18 inadmissible evidence. Orantes-Hernandez v. Smith, 541 F. Supp. 351, 356 n.4 (C.D. Cal.
19 1982) (“The weight to be accorded such evidence is a matter for the Court's discretion.”).
20 Thus, even if the Court were to decide that the relaxed preliminary injunction evidentiary
21 standard is applicable here, the Court should still give Plaintiffs’ evidence little or no
22 weight, because the declarations are significantly lacking in any foundational support on
23 which the Court could find that Plaintiffs are entitled to the requested relief. In other
24 contexts, such as the recent motion seeking the return of removed class members, Plaintiffs
25
26   1
     Regardless of the parties’ interpretation of Local Rule 7, Plaintiffs have not identified any support for
   their claim that the Federal Rules of Evidence do not apply to the evidence submitted in support of their
27 Motion to Enforce. Plaintiffs are essentially asking this Court to ignore the federal rules and rule on their
   Motion which relies on inadmissible factual assertions as the basis for their claims.
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 1 have obtained and provided to the Court declarations of class members to support their
 2 factual assertions about those class members’ cases. Plaintiffs should be required to do the
 3 same here.
 4         2. Plaintiffs’ Declarations Submitted by Attorneys and Legal Service Providers are
           not Admissible
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           As set forth more fully in Defendants’ Motion to Exclude, Defendants object to the
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     testimony contained in the Declarations in Plaintiffs’ Exhibits B–E, and G–L, filed in
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     support of Plaintiffs’ Motion to Enforce. See ECF 439-1, at 51–142. Defendants move to
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     exclude these declarations because the declarants fail to lay a proper foundation as to the
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     source of their knowledge, fail to demonstrate they have personal knowledge of the
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     statements in the declarations, and thus rely almost entirely on inadmissible hearsay. See
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     Fed. R. Evid. 602. Plaintiffs argue that these declarations are “plainly admissible and
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     entitled to significant weight” because of the relaxed evidentiary standards for preliminary
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     injunctions, and are reliable and relevant evidence of Defendants’ practices. See ECF 466,
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     at 11. Plaintiffs are wrong. First, as explained above, the relaxed preliminary injunction
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     evidentiary standard is inapplicable to Plaintiffs’ Motion to Enforce. And second, because
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     the declarations fail to lay a foundation as to the source of knowledge and do not rely on
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     personal knowledge but, instead, on hearsay or other inadmissible evidence, the statements
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     contained therein are inherently unreliable. Nat.-Immunogenics Corp. v. Newport Trial
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     Grp., No. 15cv02034, 2017 WL 10562991, at *11 (C.D. Cal. Sept. 18, 2017) (such
20
     statements are multiple hearsay, which are inherently unreliable evidence).
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           Plaintiffs also challenge Defendants’ contention that the declarants are providing
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     testimony that lacks a personal knowledge foundation. Plaintiffs claim their “declarants are
23
     testifying concerning matters well within their knowledge and competence, either because
24
     of their direct work on separation cases, or supervising other advocates and attorneys.” See
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     ECF 466 at 12. But this argument simply does not provide any basis on which to conclude
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     that the Plaintiffs’ declarations contain admissible evidence. Testimony about how a
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 1 declarant’s organization functions and what its work entails, or regarding incidents about
 2 which the declarant was personally involved in and witnessed, is based on personal
 3 knowledge and therefore admissible. But testimony on behalf of an organization without
 4 any indication that the declarant perceived the retold events “through one of the five
 5 senses,” or testimony that is, on its face, based on information allegedly learned from other
 6 members of their organization (about what third parties told those organization members)
 7 or from their clients or other third-parties, lacks personal-knowledge foundation and must
 8 be excluded or disregarded. Los Angeles Times Communications LLC v. Dept. of the Army,
 9 442 F. Supp. 2d 880, 886 (C.D. Cal. 2006). There is no supervisor exception to the personal
10 knowledge requirement of Rule 602, and Plaintiffs do not give any reason to find that one
11 exists. Plaintiffs provide no basis on which to conclude that a declarant has personal
12 knowledge of facts where those facts were told to him or her by others in the organization
13 or by clients or other third-parties. The lack of personal knowledge in the declarations in
14 Plaintiffs’ Exhibits B-E and G–L makes them inherently unreliable. Consequently, that
15 testimony should be stricken in whole or, at a minimum, should be afforded little to no
16 evidentiary weight.
17            Plaintiffs also mistakenly assert that there are “special reasons” to find the
18 declarations reliable. ECF 466 at 12. Specifically, Plaintiffs claim that their declarations
19 are reliable because their declarants work with parents and children and are the individuals
20 who are best positioned to testify regarding the issues presented in Plaintiffs’ Motion. Id at
21 15. But this assertion, even if it were true, does not establish any actual exemption or
22 exception to the hearsay rule. Plaintiffs do not assert, much less demonstrate, that any of
23 these statements fit within recognized exceptions to the hearsay rule, and thus fail to
24 provide any basis on which they should be admitted and considered by this Court.2 In re
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     2
         Plaintiffs also assert that some statements contained in the Enriquez and Koop Declarations are not
26 hearsay because they are statements of a party opponent. See ECF 466, at 11; see also FRE 801(d)(2)
     (applies to statements made by a party). However, Plaintiffs fail to address the multiple levels of hearsay
27 contained within the paragraphs cited. Even if these were statements by party opponents, they are still
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 1 Oracle Corp. Sec. Litig., 627 F.3d 376, 385 (9th Cir.2010) (party seeking admission of a
 2 piece of evidence bears the burden of demonstrating its admissibility). 3
 3       B. Plaintiffs Have Not Met Their Burden to Establish that Their Purported Expert
             Declarations are Admissible or Should Be Given Any Weight
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             None of Plaintiffs’ proffered experts has sufficiently established any reliable
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     principles and methods upon which they rely for their testimony in their declarations at
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     Exhibits N-Q as required by Rule 702(c)-(d) of the Federal Rules of Evidence. In their
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     Opposition, Plaintiffs attempt to establish their declarants’ bona fides to give opinion
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     testimony by attaching curricula vitae (CVs) for each of their proffered experts. See ECF
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     466, Exs. 1-5. While the CVs may lay a foundation to find that the declarants could give
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     testimony as experts as a general matter in some circumstances, the inquiry into the
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     admissibility of their testimony as experts does not end there. For expert testimony to be
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     admissible or given any weight by the Court, it must be both reliable and relevant, and
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     reliability turns on the soundness of the proposed expert’s methodology. See Jinro America
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     Inc. v. Secure Investments, Inc., 266 F.3d 993, 1005 (9th Cir. 2001); Daubert v. Merrell
15
     Dow Pharm., Inc., 43 F.3d 1311, 1318 (9th Cir. 1995). Here, the submission of CVs alone
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     does not cure the deficiency that these declarations of each proffered expert fail to
17
     demonstrate a reliable basis for their opinion. Specifically, the proffered experts fail to state
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     what reliable principles and methods they used and applied to arrive at their conclusions as
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   statements that were told to someone other than the declarant and then retold by the declarant. In double
21 hearsay situations, each statement must qualify under some exception or exemption to the hearsay rules.
   Miller v. Field, 35 F. 3d 1088, 1090 (6th Cir. 1994). Moreover, to the extent that the declarants do not
22 specifically identify the individuals who made the statements that are referenced, it is not possible to
   confirm whether those individuals are in fact parties, or are actually non-federal grantee facilities staff or
23 other non-party employees.
     3
24   Plaintiffs also claim that any issues with reliability are assuaged by the fact that Defendants have had
   ample opportunity to investigate the cases described in their declarations. Yet the declarations themselves,
25 in many cases, do not even provide sufficient information to allow Defendants to identify the individuals
   being discussed by the declarant. Defendants requested that Plaintiffs send them identifying information
26 regarding the individuals discussed in the declarations, and Plaintiffs did so for some, but not all of the
   individuals, while maintaining that they were not obligated to provide that information to Defendants. The
27 limited information provided about the individuals in the declarations simply does not establish any level
   of reliability for the declarants’ statements.
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 1 required by Fed. R. Evid. 702(c)-(d). Thus, Plaintiffs have not met their burden to
 2 demonstrate that Exhibits N-Q contain admissible expert testimony.
 3             1. Exhibit N – Declaration of Jeanne Rikkers
 4         Plaintiffs contend that Jeanne Rikkers demonstrates her experience as a researcher
 5 focusing on criminal justice and gangs and that, in her declaration, she “states the principles
 6 she applies.” ECF 466 at 19. Plaintiffs then go on to quote portions of Ms. Rikkers’
 7 declaration where she describes the events she has witnessed in El Salvador. Id. at 19-20.
 8 But this repetition of Ms. Rikkers’ statements in her declaration does not show that Ms.
 9 Rikkers demonstrated a recognized or reliable basis for her conclusions about criminal
10 justice and gang affiliation. As noted in Defendants’ Motion to Exclude, she did not state
11 whether personal observation “[a]t the community level” is a reliable method for
12 conducting her area of research or whether other researchers in her field would rely solely
13 on those experiences to arrive at their conclusions. ECF 439-1 at 152, ¶ 6. Plaintiffs insist
14 that Defendants “cannot credibly claim they do not know how she reached her conclusion.”
15 ECF 466 at 20. But that is exactly what Defendants claim, because so long as Ms. Rikkers
16 does not state how her “experience leads to the conclusion reached, why that experience is
17 a sufficient basis for the opinion, and how that experience is reliably applied to the facts,”
18 then neither Defendants nor the Court can determine whether Ms. Rikkers’ conclusions are
19 sufficiently reliable and therefore admissible as expert opinion. Fed. R. Evid. 702,
20 Advisory Committee Note (2000 Amendments); see also Kumho Tire Co Ltd v.
21 Carmichael, 526 U.S. 137, 151 (1999). Thus, this Court should strike her declaration in its
22 entirety.
23             2. Exhibit O – Declaration of Dr. Jack P. Shonkoff
24         Plaintiffs contend that the scientific fields of study and the publications listed in Dr.
25 Shonkoff’s CV sufficiently demonstrate the methods and principles he relied on in coming
26 to his conclusion. ECF 466 at 18-19. However, simply stating that Dr. Shonkoff relied on
27 “pediatrics and disciplines in the field of medicine, behavioral and social sciences, [and]
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 1 biology” does not provide anything more than a vague explanation of the broad scientific
 2 disciplines that may have governed portions of his research. Id. at 18. Throughout his
 3 declaration, Dr. Shonkoff refers to “countless studies,” “thousands of studies,” “extensive
 4 evidence,” and “extensive research” without providing a single source or description of
 5 any of those studies or evidence. Ex. O, Shonkoff Decl., ECF 439-1 at 157, ¶¶ 5, 6, 9, 17,
 6 18. Such “vague and generalized” language explaining the basis for his conclusions does
 7 not demonstrate that his testimony is sufficiently reliable expert testimony admissible
 8 under Federal Rule of Evidence 702. United States v. Hermanek, 289 F.3d 1076, 1094 (9th
 9 Cir. 2002); see also Cabrera v. Cordis Corp., 134 F.3d 1418, 1423 (9th Cir. 1998). Thus,
10 this Court should strike his declaration in its entirety.
11             3. Exhibit P – Declaration of Dr. Dora B. Schriro
12         Dr. Schriro also fails to specify the research she relied upon for her opinions in her
13 declaration. ECF 439-1 at 165-68. In addition, she did not explain whether others in her
14 field use similar risk assessments and classification systems for detained individuals.
15 Daubert, 43 F.3d at 1316-17. Thus, she should not be permitted to give expert testimony.
16 Plaintiffs contend that Dr. Schriro has demonstrated that her methodology is sufficiently
17 reliable as expert testimony, and they contend that even if Defendants’ objections to her
18 declaration were correct, then that would go to weight and not to the declaration’s
19 admissibility. But Plaintiffs statements that Dr. Schriro’s methodology is sufficiently
20 reliable does not make it so. And even if Plaintiffs are correct, because Dr. Schriro does
21 not explain the basis of her methods or research concerning risk assessment procedures and
22 tools, her testimony is unreliable and should be accorded little to no weight. Fed. R. Evid.
23 702.
24             4. Exhibit Q – Declaration of Dr. James Austin
25         Plaintiffs have not demonstrated that Dr. Austin’s research in detention-
26 classification systems is in any way relevant to his testimony concerning risk assessments
27 in immigration detention. Specifically, Dr. Austin has not demonstrated that his experience
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 1 “observing local jail detention and ICE detention centers” is sufficient to qualify him as an
 2 expert who can make conclusions about family detention in the immigration context. Ex.
 3 Q, Austin Decl., ECF 439-1, at 172, ¶ 17. Dr. Austin fails to demonstrate how his
 4 experience “leads to the conclusion reached, why that experience is a sufficient basis for
 5 the opinion, and how that experience is reliably applied to the facts,” and here, he has not
 6 done so. Fed. R. Evid. 702, Advisory Committee Note (2000 Amendments). Because Dr.
 7 Austin does not explain how his experience qualifies him to opine about risk assessments
 8 for family detention, nor does he cite any objective, specific authorities in opining about
 9 the standards in family-immigration-detention facilities, his opinion testimony is
10 unreliable. Fed. R. Evid. 702(c)-(d); Cabrera, 134 F.3d at 1423.
11      C. Mr. Guggenheim’s declaration amounts to inadmissible legal conclusions.
12         Mr. Guggenheim’s declaration—filled with case law citations and application of
13 law to fact—undoubtedly contains impermissible legal conclusions. Plaintiffs’ claims to
14 the contrary are without merit. When an expert witness “cites to case law to support his
15 conclusions” and “interprets the meaning and applicability of [state] statutes,” their
16 testimony amounts to inadmissible legal conclusions. McDevitt v. Guenther, 522 F. Supp.
17 2d 1272, 1294 (D. Haw. 2007) (finding that large portions of expert report was
18 inadmissible because the expert made “legal conclusions, comments on the applicable law,
19 and applie[d] the law to the facts”). Indeed, when an expert report “reads like a legal brief”
20 discussing court decisions, it “invades the province of the trial court to determine the law.”
21 Pinal Creek Grp. v. Newmont Mining Corp., 352 F. Supp. 2d 1037, 1044–45 (D. Ariz.
22 2005) (excluding law professor’s detailed discussion of case law and its application to the
23 facts before the Court because it was an inadmissible legal opinion). Mr. Guggenheim’s
24 brief not only cites to case law to support his conclusions about state-child-welfare law,
25 but it reads like a legal brief given its legal conclusions and citations. See, e.g., ECF 439-
26 1, 146 ¶ 8–9 (citing to NY case law to conclude that certain criminal conduct does not
27 justify emergency separation); see also id. ¶ 11 (concluding the percentage of cases listed
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 1 in the spreadsheet would result in limiting parental rights “under state child welfare law
 2 or established constitutional principles.”). Because such legal conclusions and comments
 3 of constitutional law—along with its application to the facts of this case—pervade Mr.
 4 Guggenheim’s declaration, it should be stricken. McDevitt, 522 F. Supp. 2d at 1294.
 5         The two cases to which Plaintiffs cite are distinguishable. First, in Pacific Gas, the
 6 expert witness was a “senior engineer” at the Pipeline and Hazardous Materials Safety
 7 Administration—not an attorney. United States v. Pac. Gas & Elec. Co., No. 14-CR-
 8 00175-TEH, 2016 WL 3268994, at *1 (N.D. Cal. June 15, 2016). The engineering expert
 9 was testifying about his experience working with the Pipeline regulations; it did not
10 involve case law analysis or application of law to fact. Id. Additionally, because this was
11 a jury trial rather than a bench trial, the Court found that the “jury…lacks the benefit of
12 daily interaction with this [regulatory] framework to guide its understanding”; thus, expert
13 testimony “to help the jury digest this complex regulatory framework” was appropriate.
14 Id. Nonetheless, the court still held that the expert “may not, however, offer any opinions
15 about whether [Defendants] violated the Pipeline Safety Act”—the core legal issue in that
16 case. Id. at *2.
17         Similarly, the court in Adams involved a complex regulatory issue about pesticide
18 standards that the parties were going to try before a jury, so the court limited the expert
19 testimony to the “general roles” of the EPA and parties, the “general regulatory
20 framework” regarding pesticides, and industry standards. Adams v. United States, No. CV-
21 03-49EBLW, 2009 WL 1085481, at *3 (D. Idaho Apr. 20, 2009). However, the court
22 stopped short of permitting the attorney expert to make legal conclusions by excluding
23 any testimony about whether the defendant violated the regulation. See id. (“The opinion
24 that [defendant] violated FIFRA invades the province of the jury by telling them what
25 their verdict should be...”). Thus, neither of the cases cite by Plaintiffs stand for the broad
26 proposition that attorney witnesses may testify about the law and apply it to the facts of
27 the case as Guggenheim does—especially when the finder of fact is a judge, not a jury.
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                                                  11
 1 III.   CONCLUSION
 2        For the foregoing reasons, Defendants respectfully request that the Court exclude
 3 from the record Plaintiffs’ Exhibits B–E and G–Q submitted in support of Plaintiffs’ July
 4 30, 2019 Motion to Enforce. Alternatively, if the Court is disinclined to exclude Plaintiffs’
 5 Exhibits B–E and G–Q in their entirety, Defendants request that this Court strike the
 6 inadmissible portions of the declarations as outlined in Defendants’ Exhibit 1.
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     DATED: September 18, 2019             Respectfully submitted,
 9
10                                         JOSEPH H. HUNT
                                           Assistant Attorney General
11                                         SCOTT G. STEWART
12                                         Deputy Assistant Attorney General
                                           WILLIAM C. PEACHEY
13                                         Director
14                                         WILLIAM C. SILVIS
                                           Assistant Director
15
16                                         /s/ Nicole N. Murley
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17                                         Senior Litigation Counsel
18                                         SARAH B. FABIAN
                                           Senior Litigation Counsel
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 2   Attorneys for Respondents-Defendants
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 1                              CERTIFICATE OF SERVICE
 2 IT IS HEREBY CERTIFIED THAT:
 3        I, the undersigned, am a citizen of the United States and am at least eighteen years
 4 of age. My business address is Box 868, Ben Franklin Station, Washington, D.C. 20044. I
 5 am not a party to the above-entitled action. I have caused service of the accompanying
 6 DEFENDANTS’          REPLY       IN    SUPPORT        OF    MOTION        TO        EXCLUDE
 7 PLAINTIFFS’ DECLARATIONS on all counsel of record, by electronically filing the
 8 foregoing with the Clerk of the District Court using its ECF System, which electronically
 9 provides notice.
10        I declare under penalty of perjury that the foregoing is true and correct.
11        DATED: September 18, 2019               s/ Nicole N. Murley
12                                                Nicole N. Murley

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